                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


In re:                                                       Chapter 7

Abdul Rauf and Salmi Rauf,                                   Case No. 12-67060

         Debtors.                                            Hon. Phillip J. Shefferly
                                        /

Wildwood Property, L.L.C.,                                   Adversary Proceeding
                                                             No. 13-04260-PJS
         Plaintiff,

v.

Abdul Rauf,

         Defendant.
                                        /


               ORDER DENYING DETERMINATION OF NON-DISCHARGEABLE DEBT


         On January 3, 2014, the Court issued an Opinion Denying Determination of Non-

Dischargeable Debt After Trial (“Opinion”) (ECF No. 48). For the reasons explained in the

Opinion, all of which are incorporated herein,

         IT IS HEREBY ORDERED that the Plaintiff’s request for a determination of a non-

dischargeable debt is denied.

         IT IS FURTHER ORDERED that the Plaintiff’s complaint is dismissed.



                                                 .

Signed on January 03, 2014
                                                         /s/ Phillip J. Shefferly
                                                       Phillip J. Shefferly
                                                       United States Bankruptcy Judge




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